                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                       CRIMINAL NO. 5:13-CR-00096-RLV-DSC


UNITED STATES OF AMERICA,                       )
                                                )
                                                )
                                                )                    ORDER
v.                                              )
                                                )
LAVORIS QUOSEAN HECTOR,                         )
                                                )
                 Defendant.                     )



       THIS MATTER is before the Court on the Defendant’s pro se letter requesting new

counsel (document # 143) filed November 21, 2014. The Court held a hearing in this matter on

December 2, 2014. Appointed counsel J. Clark Fischer appeared with Defendant at the hearing.


       During the hearing, Defendant expressed frustration about the length of time it was taking

for his presentence report to be prepared. He also stated that his “people” have been calling Mr.

Fischer and their calls are not being returned. Mr. Fischer represented that he has not received

any such calls on Defendant’s behalf. The Government addressed the fact that counsel obtained

a favorable plea agreement for the Defendant. The Court advised Defendant that delays in the

preparation of a presentence report are not unique to his case. The Court has undertaken

measures to address this problem generally. This is not a problem attributable to defense

counsel.


       “Because the right to choose counsel is not absolute, it necessarily follows that a

defendant does not have an absolute right to substitution of counsel. As a general rule, a




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defendant must show good cause in requesting a new appointed lawyer.” United States v.

Mullen, 32 F.3d 891, 895 (4th Cir. 1994). Here, Defendant’s complaints do not demonstrate

good cause for the Court to appoint new counsel. Based upon the foregoing, the Court finds no

basis to remove Mr. Fischer as appointed counsel. Defendant’s pro se request for new counsel is

DENIED.


       The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Richard L. Voorhees.


       SO ORDERED.



                                 Signed: December 2, 2014




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